                                        Case 19-14628              Doc 1       Filed 04/05/19          Page 1 of 72
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________
     District of Maryland District of _________________
                                          (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                                 Chapter 11
                                                                 Chapter 12
                                                                 Chapter 13                                                Check if this is an
                                                                                                                               amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                                12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                         About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                          LaToya
                                         __________________________________________________           __________________________________________________
       identification (for example,      First name                                                   First name
       your driver’s license or           Shanelle
                                         __________________________________________________           __________________________________________________
       passport).                        Middle name                                                  Middle name

       Bring your picture                 Robinson
                                         __________________________________________________           __________________________________________________
       identification to your meeting    Last name                                                    Last name
       with the trustee.                 ___________________________                                  ___________________________
                                         Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




                                          LaToya Hanie
2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                            4    9    8    9
      your Social Security               xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                  OR                                                           OR
      Individual Taxpayer
      Identification number              9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
                                 Case 19-14628                Doc 1        Filed 04/05/19       Page 2 of 72




                                  About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                 
                                  ✔ I have not used any business names or EINs.                 I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in       _________________________________________________            _________________________________________________
     the last 8 years             Business name                                                Business name

     Include trade names and
                                  _________________________________________________            _________________________________________________
     doing business as names      Business name                                                Business name



                                  _________________________________________________            _________________________________________________
                                  EIN                                                          EIN

                                  _________________________________________________            _________________________________________________

                                  EIN                                                          EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:


                                  512 Shortbow Trail                                           _________________________________________________
                                  _________________________________________________
                                  Number     Street                                            Number     Street


                                  _________________________________________________            _________________________________________________


                                  Lusby                                   MD
                                  _________________________________________________
                                                                                    20657      _________________________________________________
                                  City                            State   ZIP Code             City                            State   ZIP Code

                                  Calvert County                                               _________________________________________________
                                  _________________________________________________
                                  County                                                       County


                                  If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                  above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                  any notices to you at this mailing address.                  any notices to this mailing address.


                                  _________________________________________________            _________________________________________________
                                  Number     Street                                            Number     Street

                                  _________________________________________________            _________________________________________________
                                  P.O. Box                                                     P.O. Box

                                  _________________________________________________            _________________________________________________
                                  City                            State   ZIP Code             City                            State   ZIP Code




6.   Why you are choosing         Check one:                                                   Check one:
     this district to file for
     bankruptcy                   
                                  ✔ Over the last 180 days before filing this petition, I       Over the last 180 days before filing this petition, I
                                        have lived in this district longer than in any other      have lived in this district longer than in any other
                                        district.                                                 district.

                                   I have another reason. Explain.                             I have another reason. Explain.
                                        (See 28 U.S.C. § 1408.)                                   (See 28 U.S.C. § 1408.)




     Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                 page 2
                                   Case 19-14628              Doc 1        Filed 04/05/19           Page 3 of 72




 Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.    The chapter of the             Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                      
                                      ✔
                                        Chapter 7
                                       Chapter 11
                                       Chapter 12
                                       Chapter 13

 8.    How you will pay the fee        I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                         local court for more details about how you may pay. Typically, if you are paying the fee
                                         yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                         submitting your payment on your behalf, your attorney may pay with a credit card or check
                                         with a pre-printed address.

                                      
                                      ✔ I need to pay the fee in installments. If you choose this option, sign and attach the

                                         Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                         By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                         less than 150% of the official poverty line that applies to your family size and you are unable to
                                         pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                         Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for       
                                ✔ No
       bankruptcy within the
       last 8 years?             Yes.   District ____________________________________________ When ______________ Case number __________________


                                         District ____________________________________________ When ______________ Case number __________________


                                         District ____________________________________________ When ______________ Case number __________________




 10.   Are any bankruptcy              ✔ No
       cases pending or being
       filed by a spouse who is         Yes.
       not filing this case with
       you, or by a business
       partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
       affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                Debtor _________________________________________________                    R elationship to you ___________________________

                                District _______________________________________________ When _______________ Case number, if known__________________


11.    Do you rent your               
                                      ✔ No.    Go to line 12.
       residence?                      Yes.   Has your landlord obtained an eviction judgment against you?


                                                   No. Go to line 12.
                                                   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                    this bankruptcy petition.




       Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
                                        Case 19-14628            Doc 1        Filed 04/05/19             Page 4 of 72




Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor          
                                         ✔ No. Go to Part 4.
      of any full- or part-time
      business?                           Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                  _______________________________________________________________________________________
                                                  Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or              _______________________________________________________________________________________
                                                  Number    Street
      LLC.
      If you have more than one
                                                  _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                           _______________________________________________        _______      __________________________
                                                   City                                                  State        ZIP Code


                                                  Check the appropriate box to describe your business:
                                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                     None of the above


13.   Are you filing under               If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                  can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                         any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                         
                                         ✔ No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                       the Bankruptcy Code.

                                          Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                  Bankruptcy Code.


Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m e dia t e Att e nt ion


14.   Do you own or have any             
                                         ✔ No
      property that poses or is
      alleged to pose a threat            Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                   If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                   Where is the property?




      Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
                                        Case 19-14628             Doc 1         Filed 04/05/19        Page 5 of 72




Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                         About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit              You must check one:                                          You must check one:
      counseling.
                                         
                                         ✔ I received a briefing from an approved credit               I received a briefing from an approved credit
                                            counseling agency within the 180 days before I               counseling agency within the 180 days before I
      The law requires that you             filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
      receive a briefing about credit       certificate of completion.                                   certificate of completion.
      counseling before you file for
                                            Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
      bankruptcy. You must
                                            plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you           I received a briefing from an approved credit               I received a briefing from an approved credit
      cannot do so, you are not             counseling agency within the 180 days before I               counseling agency within the 180 days before I
      eligible to file.                     filed this bankruptcy petition, but I do not have a          filed this bankruptcy petition, but I do not have a
                                            certificate of completion.                                   certificate of completion.
      If you file anyway, the court
                                            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                            you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                            plan, if any.                                                plan, if any.
      you paid, and your creditors
      can begin collection activities     I certify that I asked for credit counseling                I certify that I asked for credit counseling
      again.                                services from an approved agency, but was                    services from an approved agency, but was
                                            unable to obtain those services during the 7                 unable to obtain those services during the 7
                                            days after I made my request, and exigent                    days after I made my request, and exigent
                                            circumstances merit a 30-day temporary waiver                circumstances merit a 30-day temporary waiver
                                            of the requirement.                                          of the requirement.
                                            To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                            requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                            what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                            you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                            bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                            required you to file this case.                              required you to file this case.
                                            Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                            dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                            briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.
                                            If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                            still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                            You must file a certificate from the approved                You must file a certificate from the approved
                                            agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                            developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                            may be dismissed.                                            may be dismissed.
                                            Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                            only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                            days.                                                        days.

                                          I am not required to receive a briefing about               I am not required to receive a briefing about
                                            credit counseling because of:                                credit counseling because of:

                                             Incapacity.      I have a mental illness or a mental        Incapacity.      I have a mental illness or a mental
                                                               deficiency that makes me                                     deficiency that makes me
                                                               incapable of realizing or making                             incapable of realizing or making
                                                               rational decisions about finances.                           rational decisions about finances.
                                             Disability.      My physical disability causes me           Disability.      My physical disability causes me
                                                               to be unable to participate in a                             to be unable to participate in a
                                                               briefing in person, by phone, or                             briefing in person, by phone, or
                                                               through the internet, even after I                           through the internet, even after I
                                                               reasonably tried to do so.                                   reasonably tried to do so.
                                             Active duty.     I am currently on active military          Active duty.     I am currently on active military
                                                               duty in a military combat zone.                              duty in a military combat zone.
                                            If you believe you are not required to receive a             If you believe you are not required to receive a
                                            briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                            motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




       Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
                                   Case 19-14628               Doc 1           Filed 04/05/19          Page 6 of 72




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                      16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                              No. Go to line 16b.
                                           
                                           ✔   Yes. Go to line 17.

                                      16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                              Yes. Go to line 17.

                                      16c. State the type of debts you owe that are not consumer debts or business debts.
                                           _______________________________________________________________

17.   Are you filing under
      Chapter 7?                       No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                        No
                                         ✔
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do           
                                      ✔ 1-49                                    1,000-5,000                             25,001-50,000
      you estimate that you            50-99                                   5,001-10,000                            50,001-100,000
      owe?                             100-199                                 10,001-25,000                           More than 100,000
                                       200-999
19.   How much do you                  $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
      estimate your assets to          $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
      be worth?                       
                                      ✔ $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
                                       $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
20.   How much do you                  $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
      estimate your liabilities        $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
      to be?                          
                                      ✔ $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
                                       $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
Pa rt 7 :      Sign Be low

                                      I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                               correct.
                                      If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                      of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                      under Chapter 7.
                                      If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                      this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                      I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                      I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                      with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                      18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                       /s/ LaToya Shanelle Robinson
                                         ______________________________________________              _____________________________
                                         Signature of Debtor 1                                           Signature of Debtor 2

                                                         04/05/2019
                                         Executed on _________________                                   Executed on __________________
                                                        MM    / DD    / YYYY                                            MM / DD     / YYYY




            Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                    page 6
                                Case 19-14628              Doc 1        Filed 04/05/19            Page 7 of 72




                                 I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are    to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one               available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                 the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented       knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                 _________________________________
                                   /s/ James Ealley                                                  Date           04/05/2019
                                                                                                                   _________________
                                    Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                      James Ealley
                                    _________________________________________________________________________________________________
                                    Printed name

                                      The James D. Ealley Law Firm
                                    _________________________________________________________________________________________________
                                    Firm name

                                     135 W Dares Beach Rd
                                    _________________________________________________________________________________________________
                                    Number Street

                                     suite 203
                                    _________________________________________________________________________________________________

                                     Prince Frederick                                                MD            20678
                                    ______________________________________________________ ____________ ______________________________
                                    City                                                    State        ZIP Code




                                    Contact phone 4105352200
                                                  ______________________________         Email address
                                                                                                         jealley@jdelawfirm.com
                                                                                                          _________________________________________



                                     26697                                                           MD
                                    ______________________________________________________ ____________
                                    Bar number                                              State




       Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                      page 7
                                            Case 19-14628                      Doc 1            Filed 04/05/19                   Page 8 of 72


 Fill in this information to identify your case:

 Debtor 1
                     LaToya Shanelle Robinson
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Maryland   District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 241,349.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 13,412.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 254,761.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 233,009.50
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 6,940.33
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 88,463.69
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 328,413.52
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 5,006.67
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 5,417.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                                        Case 19-14628             Doc 1        Filed 04/05/19            Page 9 of 72
                  LaToya Shanelle Robinson
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        5,006.67
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                      6,940.33
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                     42,492.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                               49,432.33
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                                   Case
Fill in this information to identify       19-14628
                                     your case               Doc
                                               and this filing:              1       Filed 04/05/19           Page 10 of 72

Debtor 1
                    LaToya Shanelle Robinson
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the: District of Maryland   District of __________
                                                                                    (State)
Case number         ___________________________________________
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                                12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    ✔    Yes. Where is the property?                             What is the property? Check all that apply.         Do not deduct secured claims or exemptions. Put
                                                                 
                                                                 ✔    Single-family home                             the amount of any secured claims on Schedule D:
      1.1. 512   Shortbow Trail
           _________________________________________                 Duplex or multi-unit building
                                                                                                                     Creditors Who Have Claims Secured by Property:
           Street address, if available, or other description
                                                                     Condominium or cooperative                     Current value of the Current value of the
                                                                     Manufactured or mobile home                    entire property?     portion you own?
             _________________________________________
                                                                     Land                                            241,349.00
                                                                                                                     $________________   241,349.00
                                                                                                                                       $_________________
                                                                     Investment property
             Lusby                    MD 20657                                                                       Describe the nature of your ownership
             _________________________________________
             City                        State      ZIP Code
                                                                     Timeshare                                      interest (such as fee simple, tenancy by
                                                                     Other __________________________________       the entireties, or a life estate), if known.

                                                                 Who has an interest in the property? Check one.
                                                                                                                     Fee  simple
                                                                                                                     __________________________________________

            Calvert County                                       
                                                                 ✔ Debtor 1 only                                      Check if this is community property
            _________________________________________
             County                                               Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




    If you own or have more than one, list here:                What is the property? Check all that apply.          Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                              the amount of any secured claims on Schedule D:
                                                                                                                     Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                       Current value of the     Current value of the
                                                                    Manufactured or mobile home                     entire property?         portion you own?
             ________________________________________
                                                                    Land                                            $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare                                       Describe the nature of your ownership
                                                                    Other __________________________________        interest (such as fee simple, tenancy by
                                                                                                                     the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                                                                    __________________________________________
                                                                 Debtor 1 only
             ________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                          Check if this is community property
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:




                                                                                                                                                   page 1 of ___
                                                                                                                                                              10
                                       Case 19-14628                 Doc 1           Filed 04/05/19            Page 11 of 72



1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

            ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description      Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
            ________________________________________                Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

            ________________________________________
                                                                    Investment property
            City                    State   ZIP Code                Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
            ________________________________________              Debtor 1 only
            County
                                                                  Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                                                                              (see instructions)
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  241,349.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 


Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
   
   ✔     Yes


    3.1.
                   Honda
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                    Ridgeline
            Model: ____________________________                  
                                                                 ✔ Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                   2010                           Debtor 2 only
            Year:                 ____________
                                                                  Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                  136,000                                                                                 entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
         Other information:
                                                                                                                           9,726.00                  9,726.00
   Condition: Good                                                Check if this is community property (see               $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
    3.2.

            Model: ____________________________                   Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                  Debtor 2 only
            Year:                     ____________                                                                        Current value of the      Current value of the
                                                                  Debtor 1 and Debtor 2 only                             entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
            Other information:
                                                                  Check if this is community property (see               $________________         $________________
                                                                     instructions)




                                                                                                                                                                   10
                                                                                                                                                              2 of __
                                                                                                                                                         page ___
                                             Case 19-14628                         Doc 1             Filed 04/05/19                     Page 12 of 72




                       ____________________________                           Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
  ____.    Make:
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   ✔    No
       Yes


                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
            Other information:                                                At least one of the debtors and another                                  entire property?                 portion you own?

                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the
                                                                              Debtor 1 and Debtor 2 only                                               entire property?                 portion you own?
            Other information:                                                At least one of the debtors and another
                                                                                                                                                        $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      9,726.00
                                                                                                                                                                                        $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................




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                                                                                                                                                                                              page ___ of __
                                                  Case 19-14628                             Doc 1              Filed 04/05/19                         Page 13 of 72



Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
   Examples: Major appliances, furniture, linens, china, kitchenware
                             Washer, Dryer, Stove, Microwave, Fridge, Coffee/End Tables, Kitchen Tables, Dining Tables, Beds,
    No                      Sofas, Tables, Chairs, Desk
   
   ✔ Yes. Describe. ........


                                                                                                                                                                                                      600.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
    No                     TVs, DVR, DVDs, Computer, Tablets, Cell Phones
   
   ✔ Yes. Describe. ........                                                                                                                                                                          125.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                         0.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   ✔    No
       Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                        0.00
                                                                                                                                                                                                    $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No                   Pants/Shorts, Skirts/Dresses, Shirts/Blouses, Suits, Coats/Jackets, Shoes/Boots
   
   ✔    Yes. Describe. .........                                                                                                                                                                      100.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No                       Rings
   
   ✔    Yes. Describe. .........                                                                                                                                                                      150.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   ✔    No
       Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list
                                         Lawnmower, Grill
       No
   
   ✔    Yes. Give specific                                                                                                                                                                            50.00
                                                                                                                                                                                                    $___________________
        information...............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        1,025.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 


                                                                                                                                                                                                                    4      10
                                                                                                                                                                                                               page ___ of __
                                                       Case 19-14628                                    Doc 1                  Filed 04/05/19                               Page 14 of 72



Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   
   ✔   No
      Yes .....................................................................................................................................................................   Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   ✔   Yes .....................                 Institution name:


   17.1. Checking account:
                                                 Navy Federal Credit Union (x5952 - as of 11/15/2018)                                 1,200.00
                                                 ___________________________________________________________________________________ $__________________
                                                 PNC (x0767 - as of 11/15/2018)                                                       0.00
   17.2. Checking account:                       ___________________________________________________________________________________ $__________________
                                                 Navy Federal Credit Union (x9466 - as of 11/15/2018)                                 500.00
   17.3. Savings account:                        ___________________________________________________________________________________ $__________________

   17.4. Savings account:                        ___________________________________________________________________________________ $__________________

   17.5. Certificates of deposit: ___________________________________________________________________________________                                                                                               $__________________
   17.6. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.7. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.8. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.9. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   ✔   No
      Yes ..................
   Institution or issuer name:
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   
   ✔ No

    Yes. Give specific
       information about                                                                                                                                                                                            $__________________
       them. ........................
                                                                                                                                                                                                                    $__________________
  Name of entity:                                                                                                                                                                         % of ownership:
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%

  _____________________________________________________________________________________________________                                                                                       ___________%          $__________________


                                                                                                                                                                                                                                         10
                                                                                                                                                                                                                                    5 of __
                                                                                                                                                                                                                               page ___
                                                Case 19-14628                 Doc 1   Filed 04/05/19    Page 15 of 72


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    
    ✔ No

     Yes. Give specific
         information about
         them. ......................
    Issuer name:

    ___________________________________________________________________________________________________________________
                                                                                                                                       $__________________

    ___________________________________________________________________________________________________________________ $__________________

    ________________________________________________________________________________________________________________ $__________________

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   ✔ No

    Yes. List each
         account separately.                Institution name:
         Type of account:

 401(k) or similar plan:           _________________________________________________________________________________________________   $__________________
                                                                                                                                       $__________________
 Pension plan:                     _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 IRA:                              _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Retirement account:               _________________________________________________________________________________________________   $___________________
                                                                                                                                       $_________________
 Keogh:                            _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

    
    ✔    No
        Yes ...........................    Institution name or individual:

Electric:                  ____________________________________________________________________________________________________
                                                                                                                                       $___________________

Gas:                       ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Heating oil:               _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rental unit:               ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Prepaid rent:              _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Telephone:                 _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Water:                     _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rented furniture:        ______________________________________________________________________________________________________ $___________________
                                                                                                                                $___________________

Other:                   ___________________________________________________________________________________________________ $___________________
                                                                                                                             $___________________

                                                                                                                                       $__________________
                                                                                                                                       _
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    
    ✔    No
        Yes ...........................   Issuer name and description:
_____________________________________________________________________________________________________________________                  $__________________

_____________________________________________________________________________________________________________________                  $__________________
_____________________________________________________________________________________________________________________                  $__________________
                                                                                                                                       $__________________
                                                                                                                                       $__________________
                                                                                                                                                          10
                                                                                                                                                    6 of __
                                                                                                                                       $__________________
                                                                                                                                               page ___
                                                   Case 19-14628             Doc 1        Filed 04/05/19            Page 16 of 72



24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   ✔   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

      No
                                                              2018 State, 2018 Federal
   
   ✔   Yes. Give specific information                                                                                         Federal:               332.00
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 629.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   ✔   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   ✔   No
      Yes. Give specific information. ...............
                                                                                                                                                          0.00
                                                                                                                                                        $______________________



                                                                                                                                                                       7     10
                                                                                                                                                                 page ___ of __
                                                  Case 19-14628                             Doc 1              Filed 04/05/19                         Page 17 of 72



31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   ✔    No
       Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ...
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                               ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔    No
       Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   ✔    No
       Yes. Give specific information. ...........                                                                                                                                                   0.00
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       2,661.00
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .

37. Do you own or have any legal or equitable interest in any business-related property?

   
   ✔    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       No
       Yes. Describe .......                                                                                                                                                                      $_____________________



                                                                                                                                                                                                                         10
                                                                                                                                                                                                                    8 of __
                                                                                                                                                                                                               page ___
                                                  Case 19-14628                             Doc 1              Filed 04/05/19                         Page 18 of 72



40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________


41. Inventory
       No
       Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

       No
       Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
       No
       Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
       No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   ✔    No. Go to Part 7.
       Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ...........................

                                                                                                                                                                                                     $___________________



                                                                                                                                                                                                                        10
                                                                                                                                                                                                                   9 of __
                                                                                                                                                                                                              page ___
                                                      Case 19-14628                              Doc 1               Filed 04/05/19                          Page 19 of 72


48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

51. Any farm- and commercial fishing-related property you did not already list
          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     ✔     No
          Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                241,349.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    9,726.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               1,025.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           2,661.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
62. Total personal property. Add lines 56 through 61. ...................                                             13,412.00
                                                                                                                     $________________ Copy personal property total                                              13,412.00
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       254,761.00
                                                                                                                                                                                                               $_________________



                                                                                                                                                                                                                                  10
                                                                                                                                                                                                                            10 of __
                                                                                                                                                                                                                       page ___
                                      Case 19-14628                Doc 1             Filed 04/05/19             Page 20 of 72

 Fill in this information to identify your case:

                     LaToya Shanelle Robinson
 Debtor 1          __________________________________________________________________
                     First Name                Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Maryland   District of __________
                                                                                      (State)
 Case number
  (If known)
                     ___________________________________________                                                                                     Check if this is an
                                                                                                                                                        amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                               4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on         Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                 portion you own                           exemption you claim

                                                             Copy the value from                       Check only one box
                                                             Schedule A/B                              for each exemption
                 512 Shortbow Trail                                                                                                   Md. Code Ann., [Cts. & Jud. Proc.] §
 Brief                                                                                                                                11-504 (f)(1)(i)(2)
 description:
                                                                     241,349.00
                                                                    $________________              23,675.00
                                                                                                ✔ $ ____________

                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:        1.1
                 Household goods - Washer, Dryer, Stove,                                                                              Md. Code Ann., [Cts. & Jud. Proc.] §
 Brief           Microwave, Fridge                                                                                                    11-504 (b)(4)
 description:
                                                                      250.00
                                                                    $________________            $ ____________
                                                                                                 ✔  250.00
                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:        6
                 Household goods - Beds, Sofas, Tables, Chairs,                                                                       Md. Code Ann., [Cts. & Jud. Proc.] §
 Brief
 description:
                 Desk                                                 300.00
                                                                    $________________              300.00
                                                                                                ✔ $ ____________                      11-504 (b)(4)

                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:           6

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                               2
                                                                                                                                                              page 1 of __
                           Case 19-14628                              Doc 1         Filed 04/05/19           Page 21 of 72
Debtor           LaToya Shanelle Robinson
                _______________________________________________________                                Case number (if known)_____________________________________
                First Name       Middle Name          Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                   Amount of the                        Specific laws that allow exemption
                                                                          Current value of the   exemption you claim
         on Schedule A/B that lists this property                         portion you own
                                                                         Copy the value from    Check only one box
                                                                          Schedule A/B           for each exemption
               Household goods - Coffee/End Tables, Kitchen Tables,                                                                    Md. Code Ann., [Cts. & Jud. Proc.] §
Brief        Dining Tables                                                                                                             11-504 (b)(4)
description:
                                                                           50.00
                                                                          $________________         50.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:         6
               Electronics - TVs, DVR, DVDs, Computer, Tablets, Cell                                                                   Md. Code Ann., [Cts. & Jud. Proc.] §
Brief
description:
               Phones                                                     $________________
                                                                           125.00                
                                                                                                 ✔ $ ____________
                                                                                                     125.00                            11-504 (b)(5)
                                                                                                  100% of fair market value, up to
                                                                                                     any applicable statutory limit
Line from
Schedule A/B:          7
               Clothing - Pants/Shorts, Skirts/Dresses, Shirts/Blouses,                                                                Md. Code Ann., [Cts. & Jud. Proc.] §
Brief          Suits, Coats/Jackets, Shoes/Boots                                                                                       11-504 (b)(4)
description:                                                              $________________
                                                                           100.00                
                                                                                                 ✔ $ ____________
                                                                                                     100.00
                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:         11
               Jewelry - Rings                                                                                                         Md. Code Ann., [Cts. & Jud. Proc.] §
Brief                                                                                                                                  11-504 (b)(5)
description:
                                                                           150.00
                                                                          $________________         150.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:          12
               Other - Lawnmower, Grill                                                                                                Md. Code Ann., [Cts. & Jud. Proc.] §
Brief                                                                                                                                  11-504 (b)(5)
description:
                                                                           50.00
                                                                          $________________         50.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:         14
               Navy Federal Credit Union (x5952 - as of 11/15/2018)                                                                    Md. Code Ann., [Cts. & Jud. Proc.] §
Brief                                                                                                                                  11-504 (b)(5)
description:
               (Checking)                                                  1,200.00
                                                                          $________________         1,200.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:         17.1
               Navy Federal Credit Union (x9466 - as of 11/15/2018)                                                                    Md. Code Ann., [Cts. & Jud. Proc.] §
Brief          (Savings)                                                                                                               11-504 (b)(5)
description:
                                                                           500.00
                                                                          $________________         500.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:        17.3
               2018 Federal (owed to debtor)                                                                                           Md. Code Ann., [Cts. & Jud. Proc.] §
Brief                                                                                                                                  11-504 (f)(1)(i)(1)
description:
                                                                           332.00
                                                                          $________________         332.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
                                                                                                     any applicable statutory limit
Line from
Schedule A/B:         28
               2018 State (owed to debtor)                                                                                             Md. Code Ann., [Cts. & Jud. Proc.] §
Brief                                                                                                                                  11-504 (f)(1)(i)(1)
description:
                                                                           629.00
                                                                          $________________       $ ____________
                                                                                                 ✔   629.00
                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:           28

Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
                                                                                                     any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:


 Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                      2
                                                                                                                                                        page ___ of __2
                                           Case 19-14628                   Doc 1           Filed 04/05/19           Page 22 of 72

 Fill in this information to identify your case:

                    LaToya Shanelle Robinson
 Debtor 1          __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Maryland   District of __________
                                                                                           (State)
 Case number         ___________________________________________
 (If known)                                                                                                                                             Check if this is an
                                                                                                                                                           amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
    
    ✔       Yes. Fill in all of the information below.


Pa rt 1 :       List All Se c ure d Cla im s
                                                                                                                           Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                         Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                      that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                   claim                 If any

2.1 Pacific Union Financial LLC                            Describe the property that secures the claim:                   $_________________
                                                                                                                             217,200.00       $________________
                                                                                                                                                 241,349.00     $____________
                                                                                                                                                                  0.00
     ______________________________________                512 Shortbow Trail, Lusby, MD 20657 - $241,349.00
     Creditor’s Name
      1603 LBJ Freeway
     ______________________________________
     Number            Street

      Suite 500
     ______________________________________                As of the date you file, the claim is: Check all that apply.
      Dallas                TX 75234
     ______________________________________
                                                               Contingent
     City                          State   ZIP Code            Unliquidated
  Who owes the debt? Check one.                                Disputed
  ✔    Debtor 1 only                                      Nature of lien. Check all that apply.
       Debtor 2 only
                                                               An agreement you made (such as mortgage or secured
       Debtor 1 and Debtor 2 only                              car loan)
       At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a
                                                               Judgment lien from a lawsuit
     community debt                                            Other (including a right to offset) ____________________
  Date debt was incurred ____________                      Last 4 digits of account number           70000361373
2.2 Toyota Financial                                       Describe the property that secures the claim:                   $_________________
                                                                                                                             15,809.50        $________________
                                                                                                                                                 9,726.00       $____________
                                                                                                                                                                  6,083.50
     ______________________________________                2010 Honda Ridgeline - $9,726.00
     Creditor’s Name
     PO Box 5855
     ______________________________________
     Number            Street

     ______________________________________
                                                           As of the date you file, the claim is: Check all that apply.
      Carol Stream          IL
     ______________________________________
                                           60197               Contingent
     City                          State   ZIP Code            Unliquidated
  Who owes the debt? Check one.                                Disputed
       Debtor 1 only                                      Nature of lien. Check all that apply.
       Debtor 2 only
                                                               An agreement you made (such as mortgage or secured
       Debtor 1 and Debtor 2 only                              car loan)
       At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a                          Judgment lien from a lawsuit
     community debt                                            Other (including a right to offset) ____________________
  Date debt was incurred ____________                      Last 4 digits of account number           0066726034
       Add the dollar value of your entries in Column A on this page. Write that number here:                                233,009.50
                                                                                                                           $_________________


   Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of ___
                                                                                                                                                                        1
                                    Case 19-14628             Doc 1        Filed 04/05/19            Page 23 of 72
              LaToya Shanelle Robinson
Debtor 1       _______________________________________________________                          Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code


  Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___
                                                                                                                                                   1 of ___
                                                                                                                                                        1
                                                Case 19-14628               Doc 1            Filed 04/05/19           Page 24 of 72
  Fill in this information to identify your case:

                           LaToya Shanelle Robinson
      Debtor 1           __________________________________________________________________
                          First Name                    Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                    Middle Name              Last Name


      United States Bankruptcy Court for the: ______________________
                                              District of Maryland   District of __________
                                                                                             (State)
      Case number         ___________________________________________
                                                                                                                                                         Check if this is an
      (If known)                                                                                                                                            amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                                         12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :            List All of Y our PRIORI T Y Unse c ure d Cla im s

 1. Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
         
         ✔ Yes.

 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                        Total claim    Priority     Nonpriority
                                                                                                                                                       amount       amount
            IRS
2.1                                                                                                                                  6,940.33 $___________
                                                                                                                                                  0.00      6,940.33
                                                                        Last 4 digits of account number      4989                  $_____________          $____________
           ____________________________________________
           Priority Creditor’s Name
            Centralized Insolvency Operation                            When was the debt incurred?          2015
                                                                                                             ____________
           ____________________________________________
           Number            Street
           Post Office Box 7346
           ____________________________________________                 As of the date you file, the claim is: Check all that apply.
           Philadelphia             PA      19101
           ____________________________________________                    Contingent
           City                                 State    ZIP Code
                                                                           Unliquidated
           Who incurred the debt? Check one.                               Disputed
           
           ✔      Debtor 1 only                                         Type of PRIORITY unsecured claim:
                 Debtor 2 only                                            Domestic support obligations
                 Debtor 1 and Debtor 2 only                            
                                                                        ✔   Taxes and certain other debts you owe the government
                 At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                 Check if this claim is for a community debt               intoxicated
                                                                           Other. Specify
           Is the claim subject to offset?
           ✔ No

                 Yes
2.2
                                                                        Last 4 digits of account number                                $_____________ $___________ $____________
            ____________________________________________
            Priority Creditor’s Name                                    When was the debt incurred?          ____________
            ____________________________________________
            Number           Street                                     As of the date you file, the claim is: Check all that apply.
            ____________________________________________                   Contingent
            ____________________________________________                   Unliquidated
            City                                State    ZIP Code
                                                                           Disputed
            Who incurred the debt? Check one.
                  Debtor 1 only                                        Type of PRIORITY unsecured claim:
                  Debtor 2 only                                           Domestic support obligations
                  Debtor 1 and Debtor 2 only                              Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                  Check if this claim is for a community debt              intoxicated
                                                                           Other. Specify
           Is the claim subject to offset?
                  No
                  Yes

 Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of ___
                                                                                                                                                                        16
 Debtor 1
                                        Case 19-14628
                       LaToya Shanelle Robinson
                      _______________________________________________________
                                                                               Doc 1   Filed 04/05/19Case number
                                                                                                          Page(if known)
                                                                                                                  25 _____________________________________
                                                                                                                         of 72
                      First Name       Middle Name             Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

          Acceptance Now                                                                                                                                          Total claim
4.1
                                                                                        Last 4 digits of account number       4989
         _____________________________________________________________                                                                                            3,670.00
                                                                                                                                                                $__________________
         Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
          5501 Headquarters
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
         Plano                               TX       75024
         _____________________________________________________________                     Contingent
         City                                             State            ZIP Code
                                                                                           Unliquidated
         Who incurred the debt? Check one.                                                 Disputed
         
         ✔      Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only                                                 Student loans
               At least one of the debtors and another                                    Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
               Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?
                                                                                        
                                                                                        ✔   Other. Specify Furniture Lease

         
         ✔      No
               Yes
4.2
         Bank of America                                                                Last 4 digits of account number       4989                               100.00
                                                                                                                                                                $__________________
         _____________________________________________________________                  When was the debt incurred?           ____________
         Nonpriority Creditor’s Name
         PO BOX 26249
         _____________________________________________________________
         Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
          Tampa                                           FL
                                                      33623
                                                                                           Contingent
         _____________________________________________________________                     Unliquidated
         City                                             State            ZIP Code
         Who incurred the debt? Check one.                                                 Disputed
         
         ✔      Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                           Student loans
               Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                     that you did not report as priority claims

               Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Credit Card Debt
         Is the claim subject to offset?
         
         ✔      No
               Yes
          Bank of Missouri
4.3
                                                                                        Last 4 digits of account number       4989
         _____________________________________________________________                                                                                           557.00
                                                                                                                                                                $_________________
         Nonpriority Creditor’s Name                                                    When was the debt incurred?           ____________
         PO BOX 4499
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
         Beaverton                           OR       97076
         _____________________________________________________________                     Contingent
         City                                             State            ZIP Code
         Who incurred the debt? Check one.                                                 Unliquidated

         
         ✔      Debtor 1 only
                                                                                           Disputed

               Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                 Student loans
               At least one of the debtors and another                                    Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
               Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?                                                
                                                                                        ✔   Other. Specify Credit Card Debt

         
         ✔ No

               Yes


      Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                      page __
                                                                                                                                                                            2 of ___
                                                                                                                                                                                 16
 Debtor 1
                                       Case 19-14628
                      LaToya Shanelle Robinson
                     _______________________________________________________
                                                                             Doc 1   Filed 04/05/19Case number
                                                                                                        Page(if known)
                                                                                                                26 _____________________________________
                                                                                                                       of 72
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                Total claim
4.4     Calvert Health Medical Center
       _____________________________________________________________                  Last 4 digits of account number       8226
       Nonpriority Creditor’s Name                                                                                                                              946.71
                                                                                                                                                              $__________________
        100 Hospital Road                                                             When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                      As of the date you file, the claim is: Check all that apply.
        Prince Frederick                                 MD
       _____________________________________________________________
                                                                        20678
       City                                              State          ZIP Code         Contingent
                                                                                         Unliquidated
       Who incurred the debt? Check one.
                                                                                         Disputed
       
       ✔       Debtor 1 only
                                                                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                         Student loans
              Debtor 1 and Debtor 2 only
                                                                                         Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                    that you did not report as priority claims

              Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                      
                                                                                      ✔   Other. Specify Medical Services
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.5     Calvert Memorial Hospital                                                     Last 4 digits of account number       4989                               133.00
                                                                                                                                                              $__________________
       _____________________________________________________________                  When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        PO BOX 743900
       _____________________________________________________________
       Number              Street
                                                                                      As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30374                                Contingent
       _____________________________________________________________
       City                                              State          ZIP Code         Unliquidated
       Who incurred the debt? Check one.                                                 Disputed
       
       ✔       Debtor 1 only
                                                                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                         Student loans

              At least one of the debtors and another
                                                                                         Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
              Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                      
                                                                                      ✔   Other. Specify Medical Services
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.6     Calvert Orthodontics                                                          Last 4 digits of account number       4989
        _____________________________________________________________                                                                                          432.00
                                                                                                                                                              $_________________
        Nonpriority Creditor’s Name                                                   When was the debt incurred?           ____________
        294 Merimac Court
        _____________________________________________________________
        Number             Street
                                                                                      As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Prince Frederick                    MD       20678
        _____________________________________________________________                    Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                                Unliquidated

       
       ✔       Debtor 1 only
                                                                                         Disputed

              Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                                Student loans
              At least one of the debtors and another                                   Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
              Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                
                                                                                      ✔   Other. Specify Medical Services
       
       ✔       No
              Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                      page __
                                                                                                                                                                          3 of ___
                                                                                                                                                                               16
 Debtor 1
                                       Case 19-14628
                      LaToya Shanelle Robinson
                     _______________________________________________________
                                                                             Doc 1   Filed 04/05/19Case number
                                                                                                        Page(if known)
                                                                                                                27 _____________________________________
                                                                                                                       of 72
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                Total claim
4.7     Capital One Bank
       _____________________________________________________________                  Last 4 digits of account number       4989 & 4989
       Nonpriority Creditor’s Name                                                                                                                              1,539.00
                                                                                                                                                              $__________________
        PO BOX 30281                                                                  When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                      As of the date you file, the claim is: Check all that apply.
        Salt Lake City                                   UT
       _____________________________________________________________
                                                                        84130
       City                                              State          ZIP Code         Contingent
                                                                                         Unliquidated
       Who incurred the debt? Check one.
                                                                                         Disputed
       
       ✔       Debtor 1 only
                                                                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                         Student loans
              Debtor 1 and Debtor 2 only
                                                                                         Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                    that you did not report as priority claims

              Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                      
                                                                                      ✔   Other. Specify Credit Card Debt
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.8     Cedar Point Federal Credit Union                                              Last 4 digits of account number       2483                               500.00
                                                                                                                                                              $__________________
       _____________________________________________________________                  When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        22745 Maple Road
       _____________________________________________________________
       Number              Street
                                                                                      As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lexington Park                      MD       20653                                Contingent
       _____________________________________________________________
       City                                              State          ZIP Code         Unliquidated
       Who incurred the debt? Check one.                                                 Disputed
       
       ✔       Debtor 1 only
                                                                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                         Student loans

              At least one of the debtors and another
                                                                                         Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
              Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                      
                                                                                      ✔   Other. Specify Monies Loaned / Advanced
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.9     Chesapeake Anesthesia Associates                                              Last 4 digits of account number       4989
        _____________________________________________________________                                                                                          55.00
                                                                                                                                                              $_________________
        Nonpriority Creditor’s Name                                                   When was the debt incurred?           ____________
        PO BOX 741150
        _____________________________________________________________
        Number             Street
                                                                                      As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Atlanta                             GA       30374
        _____________________________________________________________                    Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                                Unliquidated

       
       ✔       Debtor 1 only
                                                                                         Disputed

              Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                                Student loans
              At least one of the debtors and another                                   Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
              Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                
                                                                                      ✔   Other. Specify Medical Services
       
       ✔       No
              Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                      page __
                                                                                                                                                                          4 of ___
                                                                                                                                                                               16
 Debtor 1
                                        Case 19-14628
                       LaToya Shanelle Robinson
                      _______________________________________________________
                                                                              Doc 1   Filed 04/05/19Case number
                                                                                                         Page(if known)
                                                                                                                 28 _____________________________________
                                                                                                                        of 72
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.10 Citi Bank                                                                                                               4989
        _____________________________________________________________                  Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                              500.00
                                                                                                                                                               $__________________
         P.O. Box 65006                                                                When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
         Sioux Falls                                      SD
        _____________________________________________________________
                                                                         57117
        City                                              State          ZIP Code         Contingent
                                                                                          Unliquidated
        Who incurred the debt? Check one.
                                                                                          Disputed
        
        ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                          Student loans
               Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                    that you did not report as priority claims

               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.11 Comcast                                                                           Last 4 digits of account number       4989                               1,496.00
                                                                                                                                                               $__________________
        _____________________________________________________________                  When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         One Comcast Center
        _____________________________________________________________
        Number              Street
                                                                                       As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Philadelphia                        PA       19103                                Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         Unliquidated
        Who incurred the debt? Check one.                                                 Disputed
        
        ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                          Student loans

               At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify Cable / Satellite Services
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.12     Credit One Bank                                                               Last 4 digits of account number       4989
         _____________________________________________________________                                                                                          2,138.00
                                                                                                                                                               $_________________
         Nonpriority Creditor’s Name                                                   When was the debt incurred?           ____________
         P.O. Box 98872
         _____________________________________________________________
         Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Las Vegas                           NV       89193
         _____________________________________________________________                    Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                Unliquidated

        
        ✔       Debtor 1 only
                                                                                          Disputed

               Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                Student loans
               At least one of the debtors and another                                   Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                
                                                                                       ✔   Other. Specify Monies Loaned / Advanced
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                      page __
                                                                                                                                                                           5 of ___
                                                                                                                                                                                16
 Debtor 1
                                        Case 19-14628
                       LaToya Shanelle Robinson
                      _______________________________________________________
                                                                              Doc 1   Filed 04/05/19Case number
                                                                                                         Page(if known)
                                                                                                                 29 _____________________________________
                                                                                                                        of 72
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.13 First National Credit                                                                                                   4989
        _____________________________________________________________                  Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                              797.00
                                                                                                                                                               $__________________
         500 E 60th Street N                                                           When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
         Sioux Falls                                      SD
        _____________________________________________________________
                                                                         57104
        City                                              State          ZIP Code         Contingent
                                                                                          Unliquidated
        Who incurred the debt? Check one.
                                                                                          Disputed
        
        ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                          Student loans
               Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                    that you did not report as priority claims

               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.14 First Premier Bank                                                                Last 4 digits of account number       4989 & 4989                        1,872.00
                                                                                                                                                               $__________________
        _____________________________________________________________                  When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         601 S Minnesota Ave
        _____________________________________________________________
        Number              Street
                                                                                       As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Sioux Falls                         SD       57104                                Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         Unliquidated
        Who incurred the debt? Check one.                                                 Disputed
        
        ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                          Student loans

               At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.15     LabCorp                                                                       Last 4 digits of account number       4989
         _____________________________________________________________                                                                                          72.00
                                                                                                                                                               $_________________
         Nonpriority Creditor’s Name                                                   When was the debt incurred?           ____________
         PO BOX 2240
         _____________________________________________________________
         Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Burlington                          NC       27216
         _____________________________________________________________                    Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                Unliquidated

        
        ✔       Debtor 1 only
                                                                                          Disputed

               Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                Student loans
               At least one of the debtors and another                                   Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                
                                                                                       ✔   Other. Specify Medical Services
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                      page __
                                                                                                                                                                           6 of ___
                                                                                                                                                                                16
 Debtor 1
                                        Case 19-14628
                       LaToya Shanelle Robinson
                      _______________________________________________________
                                                                              Doc 1   Filed 04/05/19Case number
                                                                                                         Page(if known)
                                                                                                                 30 _____________________________________
                                                                                                                        of 72
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.16 Lendmark Financial                                                                                                      4698
        _____________________________________________________________                  Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                              8,733.15
                                                                                                                                                               $__________________
         Jason Weber, Esq.                                                             When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         200 East Joppa Rd
        _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
         Towson                                           MD
        _____________________________________________________________
                                                                         21286
        City                                              State          ZIP Code         Contingent
                                                                                          Unliquidated
        Who incurred the debt? Check one.
                                                                                          Disputed
        
        ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                          Student loans
               Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                    that you did not report as priority claims

               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify Monies Loaned / Advanced
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.17 Macy's                                                                            Last 4 digits of account number       4989                               491.00
                                                                                                                                                               $__________________
        _____________________________________________________________                  When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         P.O. Box 8218
        _____________________________________________________________
        Number              Street
                                                                                       As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Monroe                              OH       45050                                Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         Unliquidated
        Who incurred the debt? Check one.                                                 Disputed
        
        ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                          Student loans

               At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.18     Merrick Bank                                                                  Last 4 digits of account number       4989
         _____________________________________________________________                                                                                          1,082.00
                                                                                                                                                               $_________________
         Nonpriority Creditor’s Name                                                   When was the debt incurred?           ____________
         PO BOX 9201
         _____________________________________________________________
         Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Old Bethpage                        NY       11804
         _____________________________________________________________                    Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                Unliquidated

        
        ✔       Debtor 1 only
                                                                                          Disputed

               Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                Student loans
               At least one of the debtors and another                                   Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                
                                                                                       ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                      page __
                                                                                                                                                                           7 of ___
                                                                                                                                                                                16
 Debtor 1
                                        Case 19-14628
                       LaToya Shanelle Robinson
                      _______________________________________________________
                                                                              Doc 1   Filed 04/05/19Case number
                                                                                                         Page(if known)
                                                                                                                 31 _____________________________________
                                                                                                                        of 72
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.19 Navient                                                                                                                 4989
        _____________________________________________________________                  Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                              28,000.00
                                                                                                                                                               $__________________
         123 Justison Street                                                           When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         3rd Floor
        _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
         Wilmington                                       DE
        _____________________________________________________________
                                                                         19801
        City                                              State          ZIP Code         Contingent
                                                                                          Unliquidated
        Who incurred the debt? Check one.
                                                                                          Disputed
               Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                       
                                                                                       ✔   Student loans
               Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
        
        ✔       At least one of the debtors and another                                    that you did not report as priority claims

               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.20 One Main Financial                                                                Last 4 digits of account number       4989                               9,100.00
                                                                                                                                                               $__________________
        _____________________________________________________________                  When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO BOX 1010
        _____________________________________________________________
        Number              Street
                                                                                       As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Evansville                          IN       47706                                Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         Unliquidated
        Who incurred the debt? Check one.                                                 Disputed
        
        ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                          Student loans

               At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify Monies Loaned / Advanced
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.21     PNC Bank                                                                      Last 4 digits of account number       4989
         _____________________________________________________________                                                                                          579.00
                                                                                                                                                               $_________________
         Nonpriority Creditor’s Name                                                   When was the debt incurred?           ____________
         PO BOX 1379
         _____________________________________________________________
         Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Pittsburgh                          PA       15230
         _____________________________________________________________                    Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                Unliquidated

        
        ✔       Debtor 1 only
                                                                                          Disputed

               Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                Student loans
               At least one of the debtors and another                                   Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                
                                                                                       ✔   Other. Specify Overdrawn Bank Account
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                      page __
                                                                                                                                                                           8 of ___
                                                                                                                                                                                16
 Debtor 1
                                        Case 19-14628
                       LaToya Shanelle Robinson
                      _______________________________________________________
                                                                              Doc 1   Filed 04/05/19Case number
                                                                                                         Page(if known)
                                                                                                                 32 _____________________________________
                                                                                                                        of 72
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.22 Patuxent Imaging MRI                                                                                                    4989
        _____________________________________________________________                  Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                              134.00
                                                                                                                                                               $__________________
         230 W Dares Beach Road                                                        When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
         Prince Frederick                                 MD
        _____________________________________________________________
                                                                         20678
        City                                              State          ZIP Code         Contingent
                                                                                          Unliquidated
        Who incurred the debt? Check one.
                                                                                          Disputed
        
        ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                          Student loans
               Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                    that you did not report as priority claims

               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify Medical Services
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.23 Progressive Claims                                                                Last 4 digits of account number       4989                               305.00
                                                                                                                                                               $__________________
        _____________________________________________________________                  When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO BOX 512929
        _____________________________________________________________
        Number              Street
                                                                                       As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Los Angeles                         CA       90051                                Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         Unliquidated
        Who incurred the debt? Check one.                                                 Disputed
        
        ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                          Student loans

               At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify Auto Insurance
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.24     SMECO                                                                         Last 4 digits of account number       4989
         _____________________________________________________________                                                                                          858.83
                                                                                                                                                               $_________________
         Nonpriority Creditor’s Name                                                   When was the debt incurred?           ____________
         PO BOX 62261
         _____________________________________________________________
         Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Baltimore                           MD       21264
         _____________________________________________________________                    Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                Unliquidated

        
        ✔       Debtor 1 only
                                                                                          Disputed

               Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                Student loans
               At least one of the debtors and another                                   Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                
                                                                                       ✔   Other. Specify Utility Services
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                      page __
                                                                                                                                                                           9 of ___
                                                                                                                                                                                16
 Debtor 1
                                        Case 19-14628
                       LaToya Shanelle Robinson
                      _______________________________________________________
                                                                              Doc 1   Filed 04/05/19Case number
                                                                                                         Page(if known)
                                                                                                                 33 _____________________________________
                                                                                                                        of 72
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.25 Synchrony - Home                                                                                                        4989
        _____________________________________________________________                  Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                              973.00
                                                                                                                                                               $__________________
         PO BOX 965036                                                                 When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
         Orlando                                          FL
        _____________________________________________________________
                                                                         32896
        City                                              State          ZIP Code         Contingent
                                                                                          Unliquidated
        Who incurred the debt? Check one.
                                                                                          Disputed
        
        ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                          Student loans
               Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                    that you did not report as priority claims

               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.26 Synchrony - Home Design                                                           Last 4 digits of account number       4989                               1,312.00
                                                                                                                                                               $__________________
        _____________________________________________________________                  When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO BOX 965036
        _____________________________________________________________
        Number              Street
                                                                                       As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Orlando                             FL       32896                                Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         Unliquidated
        Who incurred the debt? Check one.                                                 Disputed
        
        ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                          Student loans

               At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.27     Synchrony - Old Navy                                                          Last 4 digits of account number       4989
         _____________________________________________________________                                                                                          649.00
                                                                                                                                                               $_________________
         Nonpriority Creditor’s Name                                                   When was the debt incurred?           ____________
         PO BOX 965005
         _____________________________________________________________
         Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Orlando                             FL       32896
         _____________________________________________________________                    Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                Unliquidated

        
        ✔       Debtor 1 only
                                                                                          Disputed

               Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                Student loans
               At least one of the debtors and another                                   Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                
                                                                                       ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                      page __
                                                                                                                                                                           10 of ___
                                                                                                                                                                                 16
 Debtor 1
                                        Case 19-14628
                       LaToya Shanelle Robinson
                      _______________________________________________________
                                                                              Doc 1   Filed 04/05/19Case number
                                                                                                         Page(if known)
                                                                                                                 34 _____________________________________
                                                                                                                        of 72
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.28 Synchrony Bank-Lowes                                                                                                    4989
        _____________________________________________________________                  Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                              989.00
                                                                                                                                                               $__________________
         PO BOX 965005                                                                 When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
         Orlando                                          FL
        _____________________________________________________________
                                                                         32896
        City                                              State          ZIP Code         Contingent
                                                                                          Unliquidated
        Who incurred the debt? Check one.
                                                                                          Disputed
        
        ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                          Student loans
               Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                    that you did not report as priority claims

               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.29 T-Mobile                                                                          Last 4 digits of account number       4698                               3,393.00
                                                                                                                                                               $__________________
        _____________________________________________________________                  When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO BOX 742593
        _____________________________________________________________
        Number              Street
                                                                                       As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Cincinnati                          OH       45274                                Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         Unliquidated
        Who incurred the debt? Check one.                                                 Disputed
        
        ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                          Student loans

               At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify Telephone / Internet services
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.30     TD Bank-Target                                                                Last 4 digits of account number       4989
         _____________________________________________________________                                                                                          608.00
                                                                                                                                                               $_________________
         Nonpriority Creditor’s Name                                                   When was the debt incurred?           ____________
         P.o. Box 1470
         _____________________________________________________________
         Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Minneapolis                         MN       55440
         _____________________________________________________________                    Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                Unliquidated

        
        ✔       Debtor 1 only
                                                                                          Disputed

               Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                Student loans
               At least one of the debtors and another                                   Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                
                                                                                       ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                      page __
                                                                                                                                                                           11 of ___
                                                                                                                                                                                 16
Debtor 1
                                     Case 19-14628
                    LaToya Shanelle Robinson
                   _______________________________________________________
                                                                           Doc 1   Filed 04/05/19Case number
                                                                                                      Page(if known)
                                                                                                              35 _____________________________________
                                                                                                                     of 72
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.31 US Department of Education                                                                                           4989
      _____________________________________________________________                 Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                             14,492.00
                                                                                                                                                            $__________________
       PO BOX 7859                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
       Madison                                         WI
      _____________________________________________________________
                                                                      53704
      City                                             State          ZIP Code         Contingent
                                                                                       Unliquidated
      Who incurred the debt? Check one.
                                                                                       Disputed
      
      ✔      Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                    
                                                                                    ✔   Student loans
            Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                    that you did not report as priority claims

            Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                       Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.32 Walmart (Synchrony)                                                            Last 4 digits of account number       4989                               1,957.00
                                                                                                                                                            $__________________
      _____________________________________________________________                 When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       P.o. Box 960024
      _____________________________________________________________
      Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Orlando                             FL       32846                               Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         Unliquidated
      Who incurred the debt? Check one.                                                Disputed
      
      ✔      Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                       Student loans

            At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
            Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify Credit Card Debt
      Is the claim subject to offset?
      
      ✔      No
            Yes

                                                                                    Last 4 digits of account number
      _____________________________________________________________                                                                                         $_________________
      Nonpriority Creditor’s Name                                                   When was the debt incurred?           ____________

      _____________________________________________________________
      Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________

      _____________________________________________________________                    Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                Unliquidated

            Debtor 1 only
                                                                                       Disputed

            Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                Student loans
            At least one of the debtors and another                                   Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
            Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  Other. Specify
            No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                      page __
                                                                                                                                                                        12 of ___
                                                                                                                                                                              16
Debtor 1
                                  Case 19-14628
                 LaToya Shanelle Robinson                             Doc 1
                _______________________________________________________
                                                                                Filed 04/05/19Case number
                                                                                                   Page(if known)
                                                                                                           36 _____________________________________
                                                                                                                  of 72
                First Name    Middle Name           Last Name



Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Alltran Financial, LP                                                   On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO BOX 610                                                                   4.12 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                              Last 4 digits of account number     4989
      Sauk Rapids                           MN   56379
     _____________________________________________________
     City                                   State               ZIP Code

      American Collections Ent                                                On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      6094 D Franconia Road                                                         4.22 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                              Claims

      Alexandria                      VA         22310
     _____________________________________________________                    Last 4 digits of account number      4989
     City                                   State               ZIP Code

      Amsher Collection Services                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      4524 Southlake Parkway                                                       4.29 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 15
     _____________________________________________________
                                                                              Claims

     Birmingham                       AL         35244
     _____________________________________________________                    Last 4 digits of account number     4989
     City                                   State               ZIP Code

      Credit Collection Services                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO BOX 607                                                                    4.23 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                              Claims

      Norwood                         MA         02062
     _____________________________________________________                    Last 4 digits of account number     4989
     City                                   State               ZIP Code

      Diversified Consultants, Inc
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO BOX 551268                                                                 4.11 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                              Claims

      Jacksonville                          FL   32255
     _____________________________________________________                    Last 4 digits of account number     4989
     City                                   State               ZIP Code

      Eastern Account System of Conneticut, Inc
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO BOX 837
     _____________________________________________________
                                                                                    4.9 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                              Claims

      Newtown                         CT         06470
     _____________________________________________________                    Last 4 digits of account number     4989
     City                                   State               ZIP Code

      Financial Recovery Services Inc
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO BOX 385908                                                                 4.30 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street
                                                                                                           
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                    Claims
      Minneapolis                     MN         55438
     _____________________________________________________
                                                                              Last 4 digits of account number     4989
     City                                   State               ZIP Code



  Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page __
                                                                                                                                                            13 of ___
                                                                                                                                                                   16
Debtor 1
                                  Case 19-14628
                 LaToya Shanelle Robinson                             Doc 1
                _______________________________________________________
                                                                                Filed 04/05/19Case number
                                                                                                   Page(if known)
                                                                                                           37 _____________________________________
                                                                                                                  of 72
                First Name    Middle Name           Last Name



Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      LVNV Funding LLC, C/O Resurgent Capital Services                        On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO BOX 1269                                                                  4.12 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                              Last 4 digits of account number     4989
      Greenville                            SC   29603
     _____________________________________________________
     City                                   State               ZIP Code

      Midland Funding                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      2365 Northside Dr                                                             4.32 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 300
     _____________________________________________________
                                                                              Claims

      San Diego                       CA         92108
     _____________________________________________________                    Last 4 digits of account number      4989
     City                                   State               ZIP Code

      Midland Funding, LLC                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      2365 Northside Drive                                                         4.26 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 300
     _____________________________________________________
                                                                              Claims

     San Diego                        CA         92108
     _____________________________________________________                    Last 4 digits of account number     4989
     City                                   State               ZIP Code

      Portfolio Recovery                                                      On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      120 Corporate Blvd                                                            4.27 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured
      #1
     _____________________________________________________
                                                                              Claims

      Norfolk                         VA         23502
     _____________________________________________________                    Last 4 digits of account number     4989
     City                                   State               ZIP Code

      Portfolio Recovery
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      120 Corporate Blvd                                                            4.28 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured
      #1
     _____________________________________________________
                                                                              Claims

      Norfolk                               VA   23502
     _____________________________________________________                    Last 4 digits of account number     4989
     City                                   State               ZIP Code

      ProCo
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO BOX 2462
     _____________________________________________________
                                                                                    4.4 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                              Claims

      Aston                           PA         19014
     _____________________________________________________                    Last 4 digits of account number     4989
     City                                   State               ZIP Code

      Southwest Credit
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      4120 International Pkwy                                                       4.11 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street
                                                                                                           
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 100                                                               Claims
     _____________________________________________________
      Carrollton                      TX         75007
     _____________________________________________________
                                                                              Last 4 digits of account number     4989
     City                                   State               ZIP Code



  Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page __
                                                                                                                                                            14 of ___
                                                                                                                                                                   16
Debtor 1
                                  Case 19-14628
                 LaToya Shanelle Robinson                             Doc 1
                _______________________________________________________
                                                                                Filed 04/05/19Case number
                                                                                                   Page(if known)
                                                                                                           38 _____________________________________
                                                                                                                  of 72
                First Name    Middle Name           Last Name



Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Suburban Credit Corporation                                             On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      6142 Franconia Road                                                          4.5 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                              Last 4 digits of account number     4989
      Alexandria                            VA   22310
     _____________________________________________________
     City                                   State               ZIP Code

      Tri-County Service Bureau                                               On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO BOX 639                                                                    4.24 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                              Claims

      Hollywood                       MD         20636
     _____________________________________________________                    Last 4 digits of account number      4989
     City                                   State               ZIP Code

      Tri-County Service Bureau                                               On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO BOX 639                                                                   4.6 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                              Claims

     Hollywood                        MD         20636
     _____________________________________________________                    Last 4 digits of account number     4989
     City                                   State               ZIP Code


     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                              Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                              Claims

     _____________________________________________________                    Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                              Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                              Claims

     _____________________________________________________                    Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                              Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                              Claims

     _____________________________________________________                    Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                    Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street
                                                                                                            Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                    Claims

     _____________________________________________________
     City                                   State               ZIP Code
                                                                              Last 4 digits of account number


  Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page __
                                                                                                                                                            15 of ___
                                                                                                                                                                   16
Debtor 1
                                Case 19-14628
               LaToya Shanelle Robinson                         Doc 1
               _______________________________________________________
                                                                          Filed 04/05/19Case number
                                                                                             Page(if known)
                                                                                                     39 _____________________________________
                                                                                                            of 72
               First Name    Middle Name         Last Name



Pa rt 4 :   Add the Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.                         0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.                    6,940.33
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.                         0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                                           0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                      6,940.33
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.                    42,492.00
Total claims                                                                            $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.
                                                                                                            0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.                          0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                                     45,971.69


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                      88,463.69
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                               page __
                                                                                                                                           16 of ___
                                                                                                                                                  16
                                       Case 19-14628            Doc 1            Filed 04/05/19         Page 40 of 72

 Fill in this information to identify your case:

                       LaToya Shanelle Robinson
 Debtor               __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


 United States Bankruptcy Court for the:______________________
                                        District of Maryland   District of ________
                                                                                  (State)
 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      
      ✔    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                                 State what the contract or lease is for


2.1                                                                                         Cable Contract
       DirecTV, LLC
      _____________________________________________________________________
      Name                                                                                  Lessee
       PO BOX 5007
      _____________________________________________________________________
      Street
       Carol Stream                IL                 60197
      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___
                                              Case 19-14628                    Doc 1          Filed 04/05/19   Page 41 of 72
 Fill in this information to identify your case:

                     LaToya Shanelle Robinson
 Debtor 1           __________________________________________________________________
                        First Name                    Middle Name                 Last Name

 Debtor 2               ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:_______________________
                                         District of Maryland   District of ________
                                                                                               (State)
 Case number            ____________________________________________
  (If known)
                                                                                                                                                  Check if this is an
                                                                                                                                                    amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                              12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      ✔    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      ✔    No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                  No
                  Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                   ______________________________________________________________________
                   Name of your spouse, former spouse, or legal equivalent

                   ______________________________________________________________________
                   Number            Street

                   ______________________________________________________________________
                   City                                             State                        ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                               Check all schedules that apply:
3.1
         ________________________________________________________________________________                         Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                                  Schedule E/F, line ______
          Street                                                                                                  Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                        ZIP Code

3.2
         ________________________________________________________________________________                         Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                                  Schedule E/F, line ______
          Street                                                                                                  Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                        ZIP Code

3.3
         ________________________________________________________________________________                         Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                                  Schedule E/F, line ______
          Street                                                                                                  Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                        ZIP Code



Official Form 106H                                                             Schedule H: Your Codebtors                                                        1
                                                                                                                                                      page 1 of ___
                                     Case 19-14628            Doc 1            Filed 04/05/19         Page 42 of 72

 Fill in this information to identify your case:

                      LaToya Shanelle Robinson
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: ______________________
                                          District of Maryland  District
                                                                                  tate)
 Case number         ___________________________________________                                      Check if this is:
  (If known)
                                                                                                       An amended filing
                                                                                                       A supplement showing postpetition chapter 13
                                                                                                         income as of the following date:
                                                                                                         ________________
Official Form 106I                                                                                       MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                         Debtor 1                                      Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                       ✔ Employed
    information about additional         Employment status                                                               Employed
    employers.                                                         Not employed                                   
                                                                                                                       ✔   Not employed
    Include part-time, seasonal, or
    self-employed work.                                               Paralegal
                                         Occupation                 __________________________________             __________________________________
    Occupation may include student
    or homemaker, if it applies.                                       S A Stevenson Law Offices
                                         Employer’s name            __________________________________              __________________________________


                                         Employer’s address        _______________________________________        ________________________________________
                                                                    Number Street                                  Number    Street

                                                                   _______________________________________        ________________________________________

                                                                   _______________________________________        ________________________________________

                                                                      Greenbelt, MD
                                                                   _______________________________________        ________________________________________
                                                                    City            State  ZIP Code                 City                State ZIP Code

                                          How long employed there?________________________
                                                                   10 months                                        ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                 For Debtor 1       For Debtor 2 or
                                                                                                                    non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.          2.            0.00
                                                                                                $___________           $____________

 3. Estimate and list monthly overtime pay.                                               3.   + $___________
                                                                                                         0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                          4.            0.00
                                                                                                $__________            $____________




Official Form 106I                                             Schedule I: Your Income                                                         page 1
                 LaToya   Shanelle Case    19-14628 Doc 1 Filed
                                     Robinson                                                                04/05/19          Page 43 of 72
Debtor 1         _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.            0.00
                                                                                                                          $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.            0.00
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                                0.00
                                                                                                                         $____________            $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________       +   $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.             0.00
                                                                                                                         $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.            0.00
                                                                                                                         $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                4,506.67                       0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00                      0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________
                   Monthly Stipend from State for 1 Child                          8f.                                        500.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
                                                                                                                                                         0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.        5,006.67
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            5,006.67
                                                                                                                         $___________     +               0.00
                                                                                                                                                  $_____________      =      5,006.67
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             5,006.67
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
                                       Case 19-14628                Doc 1             Filed 04/05/19            Page 44 of 72

  Fill in this information to identify your case:

                     LaToya Shanelle Robinson
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          District of Maryland
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________ District of __________                           expenses as of the following date:
                                                                                      (State)
                                                                                                                  ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                   No                                           Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 ✔ Yes. Fill out this information for
                                                                                          Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                             RR - daughter                            1             No
                                                                                           _________________________                ________
   names.                                                                                                                                         
                                                                                                                                                  ✔ Yes
                                                                                            AR - daughter
                                                                                           _________________________                 7
                                                                                                                                    ________       No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes
                                                                                            SR - son
                                                                                           _________________________                 10
                                                                                                                                    ________       No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes

                                                                                           _________________________                ________       No
                                                                                                                                                   Yes
                                                                                           _________________________                ________       No
                                                                                                                                                   Yes
3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                  1,438.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                       0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                       0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                   200.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                     70.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                              page 1
                                         Case 19-14628             Doc 1       Filed 04/05/19     Page 45 of 72

                    LaToya Shanelle Robinson
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                       $_____________________
                                                                                                                                        0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                     400.00
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                      80.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                     300.00
        6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                        0.00
 7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                   1,200.00
 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                        0.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                     160.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                     125.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                      35.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       $_____________________
                                                                                                                                     220.00
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                     170.00
14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                        0.00
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.                    0.00
                                                                                                                       $_____________________
        15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                        0.00
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                     120.00
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                        0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                       16.
                                                                                                                                       0.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                        0.00
        17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                        0.00
                              Additional Car Payments
        17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                     674.00
        17d. Other. Specify:_______________________________________________                                     17d.                    0.00
                                                                                                                       $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                           19.
                                                                                                                                        0.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                        0.00
        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                        0.00
        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                        0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
                                       Case 19-14628             Doc 1      Filed 04/05/19            Page 46 of 72

                   LaToya Shanelle Robinson
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Student Loan
                                                                                                                                        225.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 5,417.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 5,417.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       5,006.67
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 5,417.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                   -410.33
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
                                            Case 19-14628         Doc 1           Filed 04/05/19               Page 47 of 72

Fill in this information to identify your case:

Debtor 1           LaToya Shanelle Robinson
                  __________________________________________________________________
                    First Name                Middle Name           Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                Middle Name           Last Name


                                        ______________________
United States Bankruptcy Court for the:District of Maryland    District of __________
                                                                                (State)
Case number         ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ LaToya Shanelle Robinson
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              04/05/2019
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                      Declaration About an Individual Debtor’s Schedules
                                     Case 19-14628              Doc 1              Filed 04/05/19          Page 48 of 72

 Fill in this information to identify your case:

 Debtor 1          LaToya Shanelle Robinson
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: District
                                          ______________________
                                                  of Maryland    District of ______________
                                                                             (State)
 Case number         ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                           amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                          4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


      
      ✔ Married

       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     ✔     No
          Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1         Debtor 2:                                             Dates Debtor 2
                                                                lived there                                                                  lived there

                                                                                        Same as Debtor 1                                      Same as Debtor 1

               __________________________________________       From     ________         ___________________________________________           From ________
                Number    Street                                                          Number Street
                                                                To       __________                                                             To      ________
               __________________________________________                                 ___________________________________________

               __________________________________________                                 ___________________________________________
               City                     State ZIP Code                                    City                     State ZIP Code


                                                                                        Same as Debtor 1                                      Same as Debtor 1


               __________________________________________       From     ________         ___________________________________________           From ________
                Number    Street                                                          Number Street
                                                                To       ________                                                               To      ________
               __________________________________________                                 ___________________________________________

               __________________________________________                                 ___________________________________________
               City                     State ZIP Code                                    City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     ✔     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 1
                                       Case 19-14628                       Doc 1        Filed 04/05/19                Page 49 of 72

Debtor 1        LaToya Shanelle Robinson
                _______________________________________________________                                      Case number (if known)_____________________________________
                First Name      Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
     
     ✔     Yes. Fill in the details.

                                                                Debtor 1                                                Debtor 2

                                                                Sources of income            Gross income               Sources of income          Gross income
                                                                Check all that apply.        (before deductions and     Check all that apply.      (before deductions and
                                                                                             exclusions)                                           exclusions)


            From January 1 of current year until
                                                                
                                                                ✔   Wages, commissions,                                    Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              18,000.00                     bonuses, tips          $________________
            the date you filed for bankruptcy:
                                                                   Operating a business                                   Operating a business


            For last calendar year:
                                                                
                                                                ✔   Wages, commissions,                                    Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              49,000.00                     bonuses, tips          $________________
            (January 1 to December 31, _________)
                                       2018                        Operating a business                                   Operating a business
                                              YYYY



            For the calendar year before that:                  
                                                                ✔   Wages, commissions,                                    Wages, commissions,
                                                                    bonuses, tips                                           bonuses, tips
                                                                                             $________________
                                                                                              45,876.00                                            $________________
            (January 1 to December 31, _________)
                                       2017                        Operating a business                                   Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     ✔     No
          Yes. Fill in the details.

                                                     Debtor 1                                                            Debtor 2

                                                     Sources of income             Gross income from                     Sources of income         Gross income from
                                                     Describe below.               each source                           Describe below.           each source
                                                                                   (before deductions and                                          (before deductions and
                                                                                   exclusions)                                                     exclusions)


                                        _________________________                  $________________          _________________________            $________________
 From January 1 of current
 year until the date you                _________________________                  $________________          _________________________            $________________
 filed for bankruptcy:
                                        _________________________                  $_________________         _________________________            $_________________


                                         _________________________ $________________                           _________________________           $________________
For last calendar year:
                                         _________________________ $________________                           _________________________           $________________
(January 1 to
                                         _________________________ $_________________                          _________________________           $_________________
December 31, _________)


For the calendar year                    _________________________ $________________                           _________________________           $________________
before that:                             _________________________ $________________                           _________________________           $________________
(January 1 to                            _________________________ $_________________                          _________________________           $_________________
December 31, _________)




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
                                         Case 19-14628               Doc 1       Filed 04/05/19         Page 50 of 72

Debtor 1       LaToya Shanelle Robinson
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     
     ✔     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               
               ✔    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________            _________     $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________            _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________            _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ______________


                      ____________________________________            _________     $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________            _________                                                          Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________            _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other ______________
                      City                    State       ZIP Code




                      ____________________________________            _________     $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________            _________                                                          Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________            _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other _______________
                      City                    State       ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
                                          Case 19-14628              Doc 1         Filed 04/05/19          Page 51 of 72

Debtor 1            LaToya Shanelle Robinson
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     ✔     No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________              _________      $____________ $____________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     ✔     No
          Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
                                               Case 19-14628                  Doc 1        Filed 04/05/19              Page 52 of 72

Debtor 1          LaToya   Shanelle Robinson
                  _______________________________________________________                                        Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     ✔     Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                 Status of the case
                  OneMain vs Robinson                               Contract; Date filed: 02/04/2019
    Case title:                                                                                            District Court of Calvert County
                                                                                                          ________________________________________        
                                                                                                                                                          ✔   Pending
                                                                                                          Court Name
                                                                                                                                                             On appeal
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded

                                                                                                           Prince Frederick  MD     20678
                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number D-041-CV-19-007376
                ________________________
                   Lendmark vs Robinson                             Contract; Date filed: 03/26/2018
                                                                                                           District Court for Charles County
                                                                                                          ________________________________________
                                                                                                          Court Name
                                                                                                                                                          
                                                                                                                                                          ✔   Pending
    Case title:
                                                                                                                                                             On appeal
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded


                                                                                                          ________________________________________
                          D-042-CV-18-001800                                                              City                   State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     ✔     No. Go to line 11.
          Yes. Fill in the information below.

                                                                                Describe the property                                     Date          Value of the property



                   _________________________________________                                                                              __________     $______________
                   Creditor’s Name


                   _________________________________________
                   Number      Street                                           Explain what happened

                                                                                    Property was repossessed.
                   _________________________________________
                                                                                    Property was foreclosed.
                                                                                    Property was garnished.
                   _________________________________________
                   City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                                Describe the property                                     Date           Value of the property



                                                                                                                                         __________      $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                Explain what happened

                   _________________________________________                        Property was repossessed.
                                                                                    Property was foreclosed.
                   _________________________________________                        Property was garnished.
                   City                               State   ZIP Code
                                                                                    Property was attached, seized, or levied.



Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
                                          Case 19-14628                 Doc 1         Filed 04/05/19          Page 53 of 72

Debtor 1          LaToya Shanelle Robinson
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     ✔     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     ✔     No
          Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     ✔     No
          Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
                                          Case 19-14628                    Doc 1          Filed 04/05/19               Page 54 of 72

Debtor 1            LaToya Shanelle Robinson
                    _______________________________________________________                                     Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     ✔     No
          Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔    No
          Yes. Fill in the details.

             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     ✔     Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             James D. Ealley, Esq.
             Person Who Was Paid

             ___________________________________
             135 W Dares Beach Rd
             Number       Street                                                                                                         _________
                                                                                                                                         11/16/2018          $_____________
                                                                                                                                                               900.00

             ___________________________________
             Suite 203
                                                                                                                                         _________           $_____________
             ___________________________________
             Prince Frederick    MD      20678
             City                       State    ZIP Code


             ____________________________________________
             Email or website address
             Debtor
             ___________________________________
             Person Who Made the Payment, if Not You



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
                                          Case 19-14628                    Doc 1         Filed 04/05/19             Page 55 of 72

Debtor 1           LaToya Shanelle Robinson
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
                                         Case 19-14628                       Doc 1        Filed 04/05/19           Page 56 of 72

Debtor 1           LaToya Shanelle Robinson
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     ✔     No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     ✔     No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     ✔  No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________                  _______________________________________
            Name of Financial Institution                         Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
                                           Case 19-14628                      Doc 1            Filed 04/05/19                 Page 57 of 72

Debtor 1            LaToya Shanelle Robinson
                    _______________________________________________________                                              Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    ✔      No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     ✔   No
          Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     ✔     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
                                          Case 19-14628                      Doc 1          Filed 04/05/19                   Page 58 of 72

Debtor 1           LaToya Shanelle Robinson
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     ✔     No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     ✔     No
          Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case

           Case title
                                                                    ________________________________                                                                         Pending
                                                                    Court Name
                                                                                                                                                                             On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                        Concluded


           Case number                                              ________________________________
                                                                    City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     
     ✔     No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______             To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______                 To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11
                                          Case 19-14628                    Doc 1        Filed 04/05/19             Page 59 of 72

Debtor 1           LaToya Shanelle Robinson
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Describe the nature of the business                     Employer Identification number
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                                                                            Dates business existed

            ____________________________________

                                                                    Name of accountant or bookkeeper
            ____________________________________                                                                            From     _______         To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

          No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Pa rt 1 2 :       Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           /s/ LaToya Shanelle Robinson
            ______________________________________________                        _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


            Date ________________
                  04/05/2019                                                         Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

            No
      
      ✔      Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      ✔     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
                                  Case 19-14628        Doc 1       Filed 04/05/19             Page 60 of 72
               LaToya Shanelle Robinson
 Debtor 1                                                          _                  Case number (if known)
              First Name   Middle Name    Last Name



                                              Continuation Sheet for Official Form 107
9) Lawsuits

Case Title: Midland vs. Robinson

Case Number: D-041-CV-19-007560

Court Name: District Court of Calvert County

Court Address: , Prince Frederick, MD 20678

Case Status: Pending

Nature of the case: Contract; Date filed: 02/28/2019

-------

Case Title: Midland vs Robinson

Case Number: D-07-CV-18-012968

Court Name: District Court of Anne Arundel County

Court Address: , , MD

Case Status: Pending

Nature of the case: Contract; Date filed: 10/24/2018

-------

Case Title: Judgement

Case Number: D-041-JG-18-000043

Court Name: District Court for Calvert County

Court Address: 200 Duke Street, Prince Frederick, MD 20678

Case Status: Pending

Nature of the case: Default on Loan/Lien; Date filed: 07/11/2018

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  Official Form 107                          Statement of Financial Affairs for Individuals
                                         Case 19-14628                 Doc 1         Filed 04/05/19             Page 61 of 72

Fill in this information to identify your case:

                  LaToya Shanelle Robinson
Debtor 1          __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


                                        ______________________
United States Bankruptcy Court for the:District of Maryland    District of __________
                                                                                   (State)
Case number         ___________________________________________                                                                                Check if this is an
 (If known)                                                                                                                                       amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                        secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                    Surrender the property.                           No
          name:           Pacific Union Financial LLC
                                                                                        Retain the property and redeem it.                Yes
         Description of          512 Shortbow Trail
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                       
                                                                                       ✔ Retain the property and [explain]:

                                                                                             Retain
                                                                                             ______________________________________


         Creditor’s        Toyota Financial                                            
                                                                                       ✔ Surrender the property.                          
                                                                                                                                          ✔ No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of          2010 Honda Ridgeline
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


  Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                                      page 1
                                      Case 19-14628            Doc 1         Filed 04/05/19       Page 62 of 72
                     LaToya Shanelle Robinson
Debtor              ______________________________________________________                   Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                            Will the lease be assumed?

         Lessor’s name:       DirecTV, LLC                                                                          
                                                                                                                    ✔ No

                                                                                                                     Yes
         Description of leased
         property: Cable Contract


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
         Description of leased                                                                                       Yes
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ LaToya Shanelle Robinson
         ___________________________________________             ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2

             04/05/2019
     Date _________________                                        Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




 Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                          page 2
             Case 19-14628      Doc 1   Filed 04/05/19   Page 63 of 72

Acceptance Now
5501 Headquarters
Plano, TX 75024


Alltran Financial, LP
PO BOX 610
Sauk Rapids, MN 56379


American Collections Ent
6094 D Franconia Road
Alexandria, VA 22310


Amsher Collection Services
4524 Southlake Parkway
Suite 15
Birmingham, AL 35244


Bank of America
PO BOX 26249
Tampa, FL 33623


Bank of Missouri
PO BOX 4499
Beaverton, OR 97076


Calvert Health Medical Center
100 Hospital Road
Prince Frederick, MD 20678


Calvert Memorial Hospital
PO BOX 743900
Atlanta, GA 30374


Calvert Orthodontics
294 Merimac Court
Prince Frederick, MD 20678


Capital One Bank
PO BOX 30281
Salt Lake City, UT 84130


Cedar Point Federal Credit Union
22745 Maple Road
Lexington Park, MD 20653


Chesapeake Anesthesia Associates
PO BOX 741150
Atlanta, GA 30374


Citi Bank
P.O. Box 65006
Sioux Falls, SD 57117
             Case 19-14628     Doc 1   Filed 04/05/19   Page 64 of 72

Comcast
One Comcast Center
Philadelphia, PA 19103


Credit Collection Services
PO BOX 607
Norwood, MA 02062


Credit One Bank
P.O. Box 98872
Las Vegas, NV 89193


DirecTV, LLC
PO BOX 5007
Carol Stream, IL 60197


Diversified Consultants, Inc
PO BOX 551268
Jacksonville, FL 32255


Eastern Account System of Conneticut, Inc
PO BOX 837
Newtown, CT 06470


Financial Recovery Services Inc
PO BOX 385908
Minneapolis, MN 55438


First National Credit
500 E 60th Street N
Sioux Falls, SD 57104


First Premier Bank
601 S Minnesota Ave
Sioux Falls, SD 57104


IRS
Centralized Insolvency Operation
Post Office Box 7346
Philadelphia, PA 19101


Jason Robert Weber, Esq
200 E. Joppa Road
Suite 301
Towson, MD 21286


LVNV Funding LLC, C/O Resurgent Capital Servi
PO BOX 1269
Greenville, SC 29603
             Case 19-14628    Doc 1   Filed 04/05/19   Page 65 of 72

LabCorp
PO BOX 2240
Burlington, NC 27216


Lendmark Financial
Jason Weber, Esq.
200 East Joppa Rd
Towson, MD 21286


Lendmark Financial
2080 Crain Hwy
Waldorf, MD 20601


Macy's
P.O. Box 8218
Monroe, OH 45050


Merrick Bank
PO BOX 9201
Old Bethpage, NY 11804


Midland Funding
2365 Northside Dr
Suite 300
San Diego, CA 92108


Midland Funding, LLC
2365 Northside Drive
Suite 300
San Diego, CA 92108


Navient
123 Justison Street
3rd Floor
Wilmington, DE 19801


One Main Financial
PO BOX 1010
Evansville, IN 47706


PNC Bank
PO BOX 1379
Pittsburgh, PA 15230


Pacific Union Financial LLC
1603 LBJ Freeway
Suite 500
Dallas, TX 75234


Patuxent Imaging MRI
230 W Dares Beach Road
Prince Frederick, MD 20678
             Case 19-14628    Doc 1   Filed 04/05/19   Page 66 of 72

Portfolio Recovery
120 Corporate Blvd
Norfolk, VA 23502


ProCo
PO BOX 2462
Aston, PA 19014


Progressive Claims
PO BOX 512929
Los Angeles, CA 90051


SMECO
PO BOX 62261
Baltimore, MD 21264


Southwest Credit
4120 International Pkwy
Suite 100
Carrollton, TX 75007


Suburban Credit Corporation
6142 Franconia Road
Alexandria, VA 22310


Synchrony - Home
PO BOX 965036
Orlando, FL 32896


Synchrony - Home Design
PO BOX 965036
Orlando, FL 32896


Synchrony - Old Navy
PO BOX 965005
Orlando, FL 32896


Synchrony Bank-Lowes
PO BOX 965005
Orlando, FL 32896


T-Mobile
PO BOX 742593
Cincinnati, OH 45274


TD Bank-Target
P.o. Box 1470
Minneapolis, MN 55440


Toyota Financial
PO Box 5855
Carol Stream, IL 60197
             Case 19-14628   Doc 1   Filed 04/05/19   Page 67 of 72

Tri-County Service Bureau
PO BOX 639
Hollywood, MD 20636


US Department of Education
PO BOX 7859
Madison, WI 53704


Walmart (Synchrony)
P.o. Box 960024
Orlando, FL 32846
                Case 19-14628    Doc 1    Filed 04/05/19   Page 68 of 72



                             United States Bankruptcy Court
                             District of Maryland




         LaToya Shanelle Robinson
In re:                                                        Case No.

                                                              Chapter    7
                     Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              04/05/2019                        /s/ LaToya Shanelle Robinson
Date:
                                                Signature of Debtor



                                                Signature of Joint Debtor
                   Case 19-14628            Doc 1       Filed 04/05/19           Page 69 of 72




N ot ic e Re quire d by 1 1 U.S.C. § 3 4 2 (b) for
I ndividua ls Filing for Ba nk rupt cy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

     You are an individual filing for bankruptcy,
                                                                          $245     filing fee
       and                                                                 $75     administrative fee
                                                                +          $15     trustee surcharge
     Your debts are primarily consumer debts.
                                                                          $335     total fee
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
       primarily for a personal, family, or                     difficulty preventing them from paying their
       household purpose.”                                      debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
T he t ype s of ba nk rupt c y t ha t a re                      bankruptcy discharge relieves you after
a va ila ble t o individua ls                                   bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
     Chapter 7 — Liquidation
                                                                However, if the court finds that you have
     Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
     Chapter 12 — Voluntary repayment plan
                   for family farmers or                        may deny your discharge.
                   fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
     Chapter 13 — Voluntary repayment plan
                   for individuals with regular                 debts are not discharged under the law.
                   income                                       Therefore, you may still be responsible to pay:
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
                   Case 19-14628            Doc 1       Filed 04/05/19         Page 70 of 72




   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167 filing fee
If your income is above the median for your                     +          $550 administrative fee
state, you must file a second form —the                                  $1,717 total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 2
                   Case 19-14628            Doc 1       Filed 04/05/19         Page 71 of 72


Re a d T he se I m port a nt Wa rnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200 filing fee
                                                                future earnings. If the court approves your
+           $75 administrative fee
           $275 total fee
                                                                plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
family farmers and fishermen to repay their                     factors.
debts over a period of time using future
earnings and to discharge some debts that are                   After you make all the payments under your
not paid.                                                       plan, many of your debts are discharged. The
                                                                debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
            individuals with regular                                most student loans,
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee
                                                                    debts for fraud or defalcation while acting
+          $75    administrative fee
                                                                     in a fiduciary capacity,
          $310    total fee
                                                                    most criminal fines and restitution
Chapter 13 is for individuals who have regular                       obligations,
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.
                                                                    certain debts for acts that caused death or
You are eligible for chapter 13 only if your
                                                                     personal injury, and
debts are not more than certain dollar amounts
                                                                    certain long-term secured debts.
set forth in 11 U.S.C. § 109.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3
                      Case 19-14628              Doc 1      Filed 04/05/19     Page 72 of 72




                                                                 A married couple may file a bankruptcy case
    Wa rning: File Y our Form s on T im e                        together—called a joint case. If you file a joint
                                                                 case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                     address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                 bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The                your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do             you file a statement with the court asking that
    not file this information within the deadlines set by        each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                 U nde rst a nd w hic h se rvic e s you
    their deadlines, go to:                                      c ould re c e ive from c re dit
    http://www.uscourts.gov/bkforms/bankruptcy_form              c ounse ling a ge nc ie s
    s.html#procedure.
                                                                 The law generally requires that you receive a
                                                                 credit counseling briefing from an approved
                                                                 credit counseling agency. 11 U.S.C. § 109(h).
Ba nk rupt c y c rim e s ha ve se rious
                                                                 If you are filing a joint case, both spouses must
c onse que nc e s
                                                                 receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                  you must receive it within the 180 days before
      assets or make a false oath or statement                   you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                  is usually conducted by telephone or on the
      in writing—in connection with a                            Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                       In addition, after filing a bankruptcy case, you
                                                                 generally must complete a financial
      All information you supply in connection                  management instructional course before you
      with a bankruptcy case is subject to                       can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                 case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                     You can obtain the list of agencies approved to
      offices and employees of the U.S.                          provide both the briefing and the instructional
      Department of Justice.                                     course from:
                                                                 http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
M a k e sure t he c ourt ha s your                               In Alabama and North Carolina, go to:
m a iling a ddre ss                                              http://www.uscourts.gov/FederalCourts/Bankruptcy/

The bankruptcy court sends notices to the                        BankruptcyResources/ApprovedCredit

mailing address you list on Voluntary Petition                   AndDebtCounselors.aspx.

for Individuals Filing for Bankruptcy (Official
                                                                 If you do not have access to a computer, the
Form 101). To ensure that you receive
                                                                 clerk of the bankruptcy court may be able to
information about your case, Bankruptcy
                                                                 help you obtain the list.
Rule 4002 requires that you notify the court of
any changes in your address.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)        page 4
